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 6
     Attorneys for the United States of America
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 8
                 UNITED STATES DISTRICT COURT
                      DISTRICT OF NEVADA
 9
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10
      UNITED STATES OF AMERICA,
11                                                    Case No.: 2:13-cr-00354-JCM-PAL
                            Plaintiff,
12                                                    GOVERNMENT’S UNOPPPOSED
                 vs.                                  RULE 48 MOTION TO DISMISS THE
13                                                    INDICTMENT AS TO DEFENDANT
      WENDELL LEROY WAITE,                            WENDELL WAITE
14
                               Defendant.
15
           The United States of America, by and through STEVEN W. MYHRE, Acting
16
     United States Attorney, and PATRICK BURNS, Assistant United States Attorney,
17
     hereby respectfully submits this Government’s Rule 48 Motion to Dismiss the
18
     Indictment as to Defendant Wendell Waite.
19
                         Memorandum of Points and Authorities
20
              A. Legal Standard for Government’s Voluntary Dismissal of an
21
                 Indictment Prior to Trial
22
           Rule 48(a) of the Federal Rules of Criminal Procedure, governing “Dismissal, (a)
23
     By the Government,” provides that, “The government may, with leave of court, dismiss
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 1   an indictment, information, or complaint. The government may not dismiss the
 2
     prosecution during trial without the defendant’s consent.”
 3
                 B. Good Cause Supports Dismissing the Indictment as to Defendant
 4                  Wendell Waite

 5            Good cause exists for granting the Government leave to dismiss the Indictment as

 6   to Defendant Wendell Waite. Defendant Waite was recently evaluated and determined

 7   to lack the mental competency to participate in a trial due to a diagnosis of Alzheimer’s

 8   dementia and cerebrovascular disease. The Government does not intend to challenge

 9   this finding, and does not expect Waite to regain competency due to the degenerative

10   nature of the condition rendering him incompetent to assist in his own defense during a

11   trial.
12                                          Conclusion
13
              WHEREFORE, after consideration of the included facts, points, authorities,
14
     exhibits, and arguments, the United States respectfully requests that this Court dismiss
15
     the indictment as to Defendant Wendell Waite only.
16

17
              DATED this 4th day of May, 2017.
18
                                              Respectfully submitted,
19
                                              STEVEN W. MYHRE
20                                            Acting United States Attorney

21                                                    //s//

22                                            PATRICK BURNS
                                              Assistant United States Attorney
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     Case
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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
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 4
      UNITED STATES OF AMERICA,
 5                     Plaintiff,                  Case No.: 2:13-cr-00354-JCM-PAL
               vs.
 6                                                 ORDER DISMISSING THE
      WENDELL LEROY WAITE,                         INDICTMENT AS TO DEFENDANT
 7                                                 WENDELL WAITE
                               Defendant.
 8

 9         Under Federal Rules of Criminal Procedure Rule 48(a), and by leave of Court

10   endorsed hereon, the Acting United States Attorney for the District of Nevada hereby

11   dismisses, as to Defendant Wendell Waite only, the Criminal Indictment filed on
12   September 10, 2013. Leave of Court is granted for the filing of the foregoing dismissal
13
     and the case is dismissed as to Defendant Wendell Waite only.
14

15
                                                   DATED this
                                                         May____   day of May, 2017.
                                                              9, 2017.
16

17

18                                                 _______________________________
                                                   JUDGE JAMES C. MAHAN
19                                                 United States District Judge

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